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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


 ANDRES GOMEZ,
         Plaintiff                                    Case Number: 0:21-cv-60003-AHS


 Shoe Show, Inc.,
        Defendant
 ________________________________/
                         NOTICE OF DISMISSAL WITH PREJUDICE

        Plaintiff, pursuant to FRCP 41(a)(1)(A)(i) hereby gives this Honorable Court notice of

 dismissal of this action with prejudice and, unless otherwise agreed, each party shall bear their own

 attorney’s fees and costs.


                                                             Respectfully submitted,



 Dated: February 12, 2021                           /s/ Alberto R. Leal.
                                                      Alberto R. Leal
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                                                      The Leal Law Firm, P.A.
